     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 1 of 14 Page ID #:6522



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14
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15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S OPPOSITION TO
18                                             DEFENDANT’S EX PARTE APPLICATION
                      v.                       FOR ORDER CONTINUING TRIAL DATE
19                                             AND FINDING EXCLUDABLE TIME
     MICHAEL JOHN AVENATTI,                    (CR 447); EXHIBITS 1-4
20
                Defendant.
21

22

23         Plaintiff United States of America, by and through its counsel
24   of record, the Acting United States Attorney for the Central District
25   of California and Assistant United States Attorneys Brett A. Sagel
26   and Alexander C.K. Wyman, hereby files its Opposition to defendant
27   MICHAEL JOHN AVENATTI’s Ex Parte Application for Order Continuing
28   Trial Date and Finding Excludable Time (CR 447).
     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 2 of 14 Page ID #:6523



 1         This Opposition is based upon the attached memorandum of points

 2   and authorities, the accompanying exhibits, the files and records in

 3   this case, and such further evidence and argument as the Court may

 4   permit.

 5    Dated: May 10, 2021                  Respectfully submitted,

 6                                         TRACY L. WILKISON
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 7
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 9

10                                               /s/
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13                                         UNITED STATES OF AMERICA
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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 3 of 14 Page ID #:6524



 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         As the government stated at the inception of this case, and has

 4   stated repeatedly since, defendant MICHAEL JOHN AVENATTI “has a

 5   pattern and practice of using delay tactics to avoid responsibility

 6   for his conduct.”      (CR 26 at 4.)    Indeed, his primary goal appears to

 7   be to delay these proceedings ad infinitum.          His current motion for a

 8   trial continuance -- which fails to provide any information not

 9   previously presented to the Court either before the Court set the

10   current trial date or before it stated at the previous status

11   conference that no continuance was necessary -- is just the latest,

12   bad faith attempt at prolonging the moment at which he will be held

13   accountable for his crimes.       The Court should deny defendant’s

14   request.

15   II.   ARGUMENT

16         A.    Defendant’s Alleged Bases for a Continuance Do Not Warrant
                 Continuing the Trial Date
17

18         Each of defendant’s stated reasons for needing a continuance is

19   not new, has previously been rejected by the Court, is misleading,

20   and/or is inaccurate.

21         First, defense counsel’s complaints that he will not be ready to

22   try this case on the current trial date ring hollow and are

23   contradicted by his own prior statements.          As the Court is aware, the

24   Court specifically accommodated defense counsel’s upcoming trial

25   schedule in setting the current trial date of July 13.            During the

26   January 6, 2021, status conference in this matter, the Court and the

27   parties discussed defense counsel’s Poon trial “before Judge Carter

28   that is scheduled to start June 1.”         (RT 1/6/2021 at 4:6-7.)      Defense
     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 4 of 14 Page ID #:6525



 1   counsel requested an August trial date, and the Court instead imposed

 2   the current date of July 13, noting, “That should give Mr. Steward a

 3   month after he finishes the case in front of Judge Carter.”             (Id. at

 4   4:1-5:11.)    Nothing has changed with regard to defense counsel’s

 5   trial before Judge Carter, which he described at the January status

 6   conference as “about as firm as you can get.          The only thing that

 7   will change that I think is if God forbid the pandemic is still

 8   underway.”    (Id. at 4:13-16.).

 9         Defense counsel has also not sought a continuance in the Poon

10   trial before Judge Carter (also a non-violent, white collar matter)
11   on the same bases he raises here that would apply there as well,
12   including, but not limited to, the fact that defense counsel is “in
13   [his] 70s, with pre-existing health conditions,”1 and the alleged
14   impairment he has faced in his ability to review discovery due to the
15   pandemic.    (Appl. ¶ 7.)     This suggests that it is defendant’s bad
16   faith, rather than defense counsel’s trial schedule, age, and
17   caseload, that is motivating this request for a continuance, which he
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21         1Defense counsel is, by his own account, in his 70s with
     preexisting health conditions, meaning that he has long since been
22   eligible to receive a vaccine, so it is unclear how the pandemic is
     affecting his ability to prepare for a trial in July 2021. He also
23   requested to be appointed in this case in July 2020, when there was
     no end to the pandemic in sight and he already knew the case’s
24   complexity and discovery volume since he had been previously
     retained. (CR 202.) The government is not privy to defendant and
25   his counsel’s representations to the Court for the Court to appoint
     defense counsel pursuant to the Criminal Justice Act; however, the
26   government requested that, due to representations defense counsel had
     previously made about the size and complexity of the case, the Court
27   inquire of defense counsel as to whether he would be prepared to
     proceed to trial and provide effective assistance for what was at
28   that time a 36-count, far more complex trial scheduled for December
     2020. (CR 208 at 10.)
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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 5 of 14 Page ID #:6526



 1   inexplicably filed on an ex parte basis on a Friday afternoon over a

 2   month after he claimed he would be seeking a continuance.2

 3           Moreover, on August 30, 2019, pursuant to a stipulation between

 4   the parties, the Court set a trial date of May 19, 2020, which was on

 5   all 36 counts of the indictment.        (CR 66.)    At that time, defense

 6   counsel also represented defendant in the Southern District of New

 7   York in defendant’s criminal case involving the theft of money from

 8   another client.     United States v. Avenatti, No. 1:19-CR-374 (the

 9   “SDNY Fraud Case”).      On October 8, 2019, after the May 2020 trial

10   date was set in this matter, defendant and his counsel appeared at a

11   status conference in the SDNY Fraud Case and requested an April 21,

12   2020, trial date in the SDNY Fraud Case, which was estimated to be a

13   two-week trial.     (SDNY Fraud Case, RT 10/08/2019 at 9-11.)

14           At the December 2, 2019, status conference in this case, defense

15   counsel raised a potential conflict between his SDNY Fraud Case and

16   the proposed motions hearings date the Court was going to set in this

17   case.    The government raised the fact that defendant and his counsel

18   created the conflict after the trial date in this case was already

19   set, prompting the Court to ask defense counsel when the SDNY Fraud

20   Case was scheduled, to which defense counsel responded: “I believe it

21   is early April because I remember there was a 30-day window when I

22   would finish the one and have that time to prepare for this case.”

23   (RT 12/02/2019 at 7-8.)3

24

25        2 Defense Counsel presumably has not had any trials in the last
     fourteen months, further suggesting he has had sufficient time to
26   prepare, especially since January when the Court set the July 13
     trial date.
27
          3 In reality, based on a two-week trial estimate in the SDNY
28   Fraud Case, defense counsel would have had three weeks to prepare for
     this case on all 36-counts.
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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 6 of 14 Page ID #:6527



 1           In addition, in October 2020, defense counsel represented to

 2   both the Court and government counsel that he would be ready to

 3   proceed to trial when contemplating a trial date in February 2021 --

 4   five months before the current trial date.          At the October 27, 2020,

 5   status conference, the Court stated the following while continuing

 6   the trial date at that time from December 8, 2020, until February 23,

 7   2021:

 8           In my view, there has been sufficient preparation such that
             had we been able to conduct a jury trial commencing
 9           December 8 we would have started the trial December 8.
             Given it will be another two months out, I believe there is
10           more than adequate time for the defense preparation,
             particularly since Mr. Avenatti has been out of custody
11           since I guess April.

12   (RT 10/27/2020 at 5:23-6:4.)        In response, defense counsel stated,

13   “Your Honor, to be clear, this is not a request from the defense

14   having to do with preparation. It has to do with these other two
15   trials.”    (Id. at 6:5-7 (emphasis added).)        Two days later, after the
16   government sent defense counsel a stipulation to continue the trial
17   date consistent with the Court’s guidance, defense counsel made
18   significant edits to the stipulation.         In response to a question by
19   government counsel about these proposed edits, defense counsel

20   responded, “you have language that sets out a defense request for a

21   continuance to be adequately prepared. if you recall, I specifically

22   told Judge Selna that is not why the trial is being put over.”

23   (Exhibit 1.)     Defense counsel’s statements now that he cannot be

24   adequately prepared to try this case in July 2021 appear disingenuous

25   at best.

26           At the motions hearing on October 19, 2020, the Court severed

27   the wire fraud counts involving defendant embezzling funds from his

28   clients (“client counts”) from the various tax fraud counts, bank

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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 7 of 14 Page ID #:6528



 1   fraud counts, aggravated identity theft count, and bankruptcy fraud

 2   counts.    The Court noted, the severed counts “are substantially more

 3   complex than the Client Counts.”        (CR 371 at 2.)     In granting the

 4   severance motion, the Court explained that a trial on the client

 5   counts alone would be “substantially shorter” and “focus on a limited

 6   set of similar transactions.”        (Id.)4   The client counts charged in

 7   this case are straightforward, defendant is well aware of the

 8   evidence supporting the charges from the detailed indictment and

 9   search warrant affidavits, and defendant has had access to the vast

10   majority of the relevant discovery, including key witness summaries,

11   since 2019, as well as nearly all evidence since early 2020.             Defense

12   counsel, who has previously referenced his forty-plus years of

13   criminal defense experience, certainly has had sufficient time to

14   prepare for trial on the client counts.         Moreover, defendant fails to

15   even acknowledge or reference that this Court appointed another

16   lawyer to represent defendant along with Mr. Steward since at least

17   November 2020.5

18         Second, defendant’s complaints about his own availability owing
19   to his upcoming sentencing in the Nike case in the Southern District

20   of New York are similarly unfounded and misleading.            He neglects to

21   inform the Court that, after the Court set the trial date in this

22   matter, defendant unilaterally requested a continuance of the

23

24        4 Defendant even stated -- nearly eight months ago -- that he
     would be able “to proceed to trial on counts 1 through 10 earlier
25   than on the other counts due to the complex nature of counts 11
     through 36.” (CR 265 at 7.)
26
          5 On November 10, 2020, Dean Steward informed the government
27   that the Court appointed another attorney, Courtney Cummings, to
     assist in the representation of defendant in this matter. Defendant
28   has had the assistance of two attorneys to prepare for the trial on
     the client counts for at least six months.
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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 8 of 14 Page ID #:6529



 1   sentencing in the Nike case “until June 23-25, 2021, or June 28-30,

 2   2021” -- not “as a result of the pandemic conditions in New York” as

 3   defendant now claims (Appl. ¶ 11), but rather because defendant’s

 4   “two daughters will finish high school in California on or about June

 5   10, 2021 and wish to attend the sentencing hearing.”            United States

 6   v. Avenatti, No. 1:19-cr-373-PGG (Dkt. 311) (S.D.N.Y. Mar. 30, 2021)

 7   (attached hereto as Exhibit 2).        Although defendant mentioned the

 8   ongoing pandemic in the motion to continue his sentencing hearing,

 9   the continuance of the sentencing to a date that defendant chose

10   (June 30) was to accommodate a personal request by defendant.
11   Defendant knew, when he made that request, that this trial was set to
12   proceed on July 13, and he cannot now claim that the sentencing date
13   poses a conflict.      Defendant was found guilty in that case in
14   February 2020, and the presentence investigation report has long
15   since been disclosed to the parties -- defendant has sought numerous
16   continuances of his sentencing since it was initially scheduled in
17   June 2020.    Defendant cannot legitimately claim that his need to
18   “work[] closely” with his defense counsel in the Nike case to prepare
19   for his sentencing would somehow prevent him from fully participating

20   in his trial preparation in this case.

21         Third, defendant’s baseless accusations of discovery misconduct

22   -- by now a familiar refrain -- are (once again) completely unfounded

23   and have already been rejected by this Court.           Defendant does not

24   identify any actual discoverable material that he claims to be

25   missing, instead claiming without support that there must be Brady

26   material in the agent notes of a victim interview.           (Appl. ¶ 8.)

27   Once again, defendant complains about exculpatory evidence that he

28   does not have because it simply does not exist.           And with regard to

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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 9 of 14 Page ID #:6530



 1   the discovery he complains was produced only “36 days before the then

 2   scheduled May 19, 2020 trial date,” he fails to explain how that is

 3   even remotely relevant to the timing of the current trial date of

 4   July 13, 2021 -- approximately 14 months later.

 5           Defendant has raised all of these discovery arguments in the

 6   past, and the government has responded in turn each time.             Most

 7   recently, defendant claimed in the parties’ joint status report filed

 8   April 6, 2021, that a continuance of the trial date was necessary

 9   because of these same alleged discovery violations.            (CR 433 at 15-

10   16.)    Addressing these claims the next day at the status conference,

11   the Court stated that defense counsel was “free to make that motion”

12   for a trial continuance, but that it was “highly unlikely” to be

13   successful, noting in particular that “Mr. Avenatti has been

14   available to you I guess for nearly a year now,” and, “as I’ve

15   suggested, I think the government has satisfied its discovery

16   obligations.     I see no reason to continue on that basis.”          (RT

17   4/7/2021 at 12:2-11 (emphasis added).)         Nothing has changed since
18   then.    There remains no reason for a continuance on that basis.
19           Fourth, defendant’s request for a continuance utterly ignores

20   the speedy trial rights of his victims.         Instead, he suggests that a

21   continuance would not prejudice his victims because they have already

22   filed civil lawsuits or arbitrations against defendant and are

23   pursuing civil remedies against him.         (Appl. ¶ 14.)     That his victims

24   have sued him to recoup their substantial losses has, of course, no

25   impact whatsoever on their speedy trial rights, nor, unfortunately,

26   does it enable them to recoup their losses from defendant before this

27   case proceeds to trial.       Moreover, the victims’ civil cases have been

28   stayed pending the outcome of this criminal trial -- mostly at

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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 10 of 14 Page ID #:6531



 1    defendant’s requests.      As a result, until this trial proceeds,

 2    defendant’s victims cannot have their rights vindicated, they cannot

 3    obtain a judgment or restitution order for the money defendant stole,

 4    and they cannot put this horrible abuse of trust behind them and move

 5    on with their lives.

 6          Finally, defendant’s claim that the media coverage of his

 7    sentencing hearing on June 30 -- which, again, is the date defendant

 8    requested knowing of his July 13 trial date -- will taint his jury

 9    pool is completely unfounded.       The case upon which defendant relies,

10    Sheppard v. Maxwell, 384 U.S. 333 (1966), applies to cases “where the

11    media significantly interfere[s] with the trial itself” -- for
12    example, where there is a “‘carnival atmosphere’ that the press
13    create[s] at trial.”      Hayes v. Ayers, 632 F.3d 500, 508 (9th Cir.
14    2011) (quoting Sheppard, 384 U.S. at 358).          “Pretrial news coverage
15    alone” does not infringe upon a defendant’s due process rights, even
16    if there are “months of virulent publicity.”          Id. (emphasis added)
17    (discussing Sheppard and quoting Skilling v. United States, 561 U.S.
18    358, 380 (2010)).     Rather, district court judges are granted
19    considerable discretion in determining whether pretrial media

20    attention is likely to prohibit a fair trial.          Id. at 510.    And where

21    the press coverage “cannot be characterized as a barrage of

22    inflammatory publicity immediately prior to trial, amounting to a

23    huge wave of public passion,” the “pretrial media attention alone

24    cannot justify a presumption of prejudice.”          Id. (cleaned up).

25          As much as defendant may beg to differ, his upcoming sentencing

26    in the Nike case is not going to reach that level of publicity.             As

27    the Honorable Jesse M. Furman, United States District Judge for the

28    Southern District of New York, recently held in one of defendant’s

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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 11 of 14 Page ID #:6532



 1    other pending criminal cases in response to a similar media-related

 2    objection by defendant, “Put simply, given the passage of time; the

 3    fact that Donald J. Trump, the Defendant’s erstwhile nemesis, is no

 4    longer President of the United States; and the Defendant’s other

 5    legal troubles (including but not limited to his conviction before

 6    Judge Gardephe), the Defendant is not quite as high profile as he

 7    once was.”    United States v. Avenatti, No. 1:19-cr-374-JMF (Dkt. 120)

 8    (S.D.N.Y. May 6, 2021) (attached hereto as Exhibit 3).

 9          B.     A Trial Continuance Is Not Necessary to Ensure Adequate
                   Assistance of Counsel
10

11          In June 2020, before defendant requested that his counsel be

12    appointed pursuant to the Criminal Justice Act, the Court directed

13    the parties to brief defendant’s representation issues as they

14    related to possible requests for delay of the trial.           (CR 166.)    The

15    government provided the relevant caselaw in that brief (CR 175) that

16    the Court should consider in denying defendant’s current motion.             In

17    short, defendant has a Sixth Amendment right to assistance of

18    counsel, but that right is circumscribed by the need to maintain the

19    fair, orderly, and efficient administration of justice.            Defendant

20    may not use his right to counsel as a ploy to delay this prosecution,

21    which is what defendant has attempted to do for over two years --

22    starting when he appeared at several hearings without counsel.

23          When a continuance request implicates the right to counsel, a

24    court does not abuse its discretion unless the denial of a

25    continuance was “arbitrary or unreasonable.”          United States v.

26    Moreland, 622 F.3d 1147 (9th Cir. 2010); United States v. Flynt, 756

27    F.2d 1352, 1358 (9th Cir. 1985) (“We do not find a clear abuse of

28    discretion unless, after carefully evaluating all the relevant

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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 12 of 14 Page ID #:6533



 1    factors, we conclude that the denial was arbitrary or

 2    unreasonable.”).     The Court must balance several factors to evaluate

 3    such continuance requests, including:

 4               (1) the extent of a defendant’s diligence in his
            efforts to ready his defense prior to the trial date;
 5               (2) whether the continuance would serve a useful
            purpose if granted;
 6               (3) the extent to which granting the continuance would
            inconvenience the Court and the opposing party, including
 7          its witnesses; and
                 (4) the extent to which defendant may suffer harm as a
 8          result of the denial of a continuance.

 9    Flynt, 756 F.2d at 1359 (internal citations omitted).6

10          Crucially, it is also necessary for the Court to evaluate
11    “whether the delay is the defendant’s fault.”          United States v.
12    Turner, 897 F.3d 1084, 1102 (9th Cir. 2018) (quoting United States v.
13    Thompson, 587 F.3d 1165, 1174 (9th Cir. 2007)).          In United States v.
14    Lawrence, 607 F. App’x 756, 757 (9th Cir. 2015), for example, the
15    Ninth Circuit affirmed the district court’s denial of a continuance
16    request because most of the delays were caused by defendant.             Because
17    defendant’s “behavior was consistent with dilatory tactics” and “his
18    course of conduct was consistent with ‘gamesmanship’ utilized to
19    avoid going to trial,” the district court did not abuse its

20    discretion in denying the continuance request.          Id.

21          Moreover, defendant has never provided this Court with any

22    specific information as to what defendant or his counsel have

23    actually done to prepare for trial in the past two-plus years, let

24    alone in the seven months since this Court severed the client counts

25    from the remaining -- more complex -- counts of the Indictment.

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27
            6The Speedy Trial Act also states that a continuance “shall not
28    be granted because of . . . lack of diligent preparation.” 18 U.S.C.
      § 3161(h)(7)(C).
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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 13 of 14 Page ID #:6534



 1    Instead, all defendant and his counsel have offered this Court -- now

 2    and previously -- are misleading complaints regarding discovery and

 3    vague statements regarding their ability to prepare for trial.             And

 4    the mere fact that discovery in this case is voluminous does not

 5    require the Court to provide defendant with an unlimited amount of

 6    time to review such discovery.       See United States v. Wilkes, 662 F.3d

 7    524, 543 (9th Cir. 2011) (holding district court did not abuse its

 8    discretion in denying defendant’s request to continue the trial to

 9    “enable his counsel to review voluminous discovery”); see also United

10    States v. Vincent, 416 F.3d 593, 599 (7th Cir. 2005) (holding
11    defendant’s Sixth Amendment rights were not violated by denial of
12    trial continuance where the district court properly considered “the
13    amount of time to prepare, defendant’s failure to examine the
14    available discovery, and his familiarity with the facts”).
15          For all of these reasons, defendant’s motion for continuance
16    should be denied.     It also bears noting that defendant’s current
17    motion exemplifies the bad faith in which he continues to act in
18    litigating this case.      He continues to lodge baseless discovery
19    misconduct claims; he continues to attempt to mislead the Court; and

20    he continues to try to delay these proceedings as long as possible.

21    Even the Application’s statement that government counsel failed to

22    respond to defense counsel (Appl. ¶ 15) is false.           Government counsel

23    responded with their position at 9:52 AM, approximately six hours

24    before defendant filed the Application.         (Exhibit 4.)    Defendant’s

25    motion is simply another example of his bad faith and gamesmanship.

26    Cf. Lawrence, 607 F. App’x at 757.          Defendant and his counsel have

27    had more than sufficient time to prepare for trial, and there are no

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     Case 8:19-cr-00061-JVS Document 449 Filed 05/10/21 Page 14 of 14 Page ID #:6535



 1    legitimate bases for a continuance; therefore, the Court should deny

 2    defendant’s motion.

 3    III. CONCLUSION

 4          For the foregoing reasons, the government respectfully requests

 5    that this Court deny defendant’s motion in its entirety.

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